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                            United States District Court
                                     EASTERN DISTRICT OF TEXAS
                                         SHERMAN DIVISION


  FLOOR AND DECOR OUTLETS OF                      §
  AMERICA, INC., a Delaware                       §
  Corporation,                                    §
                                                  §
         Plaintiff,                               §
  v.                                              § CASE NO. 4:17CV879-ALM-KPJ
                                                  §
  HADI M. TAFFAL d/b/a GRANITE
                                                  §
  FLOOR & DECOR,
                                                  §
         Defendants.                              §

            CONSENT FINAL JUDGMENT AND PERMANENT INJUNCTION

        Pursuant to the Memorandum Adopting Report and Recommendation of United States

 Magistrate Judge filed in this matter this date and pursuant to the parties’ agreement to resolve and

 settle the controversy between them on a permanent and final basis without trial or any further

 proceedings herein, it is hereby,

        ORDERED, ADJUDGED, and DECREED that the Consent Final Judgment and

 Permanent Injunction (Dkt. 10-1)) is APPROVED based on the following:

        This Court has subject-matter jurisdiction over the Lanham Act claims set forth in the

 complaint pursuant to 28 U.S.C. §§1331and1338(a)-(b) and 15 U.S.C. § 1121(a), and over the

 related state statutory and common-law claims under the Court's supplemental jurisdiction

 pursuant to 28 U.S.C. §§ 1338(b) and 1367(a).

        Plaintiff is a corporation duly organized and existing under the laws of the state of

 Delaware and having its principal place of business at 2233 Lake Park Drive, Suite 400, Smyrna,

 Cobb County, Georgia, 30080.
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        Defendant Hadi M. Taffal is an individual residing at 1055 Big Spring Drive, Allen, Collin

 County, Texas, 75013. Defendant has done business as Granite Floor & Decor, which has its

 principal place of business at 1314 West McDermott Drive, Allen, Collin County, Texas, 75013,

 providing, inter alia, kitchen, bathroom, and related home remodeling services featuring granite

 countertops, tiles and flooring, and wood and porcelain flooring.

        Defendant acknowledges that he was personally served with the Summons and Complaint

 in this action on December 29, 2017, and, for purposes of this action, does not contest the personal

 jurisdiction of this Court with respect to the subject matter of this action.

        Defendant has not yet answered the Complaint herein but hereby makes a general

 appearance by and through his attorney.

        Plaintiff is the owner of federal trademark registrations in the U.S. Patent and Trademark

 Office for the word mark FLOOR & DECOR (Reg. Nos. 3,110,827 and 4,309,117). In addition,

 Plaintiff is the owner of federal trademark registrations for:

        (a) the FLOOR & DECOR Horizontal Logo (Reg. No. 4,514,307);

        (b) the FLOOR & DECOR Stacked Logos (Reg. Nos. 3,102,586 and 3,848,810, the former

 being lined for the color red);

        (c) the FLOOR & DECOR Red Logo (Reg. No. 4,583,757); and

        (d) the Ampersand Logo (Reg. No. 3,046,691, lined for the color red) (collectively, “the

 FLOOR & DECOR Marks”). See Dkt. 10-1.

        These FLOOR & DECOR Marks are registered for, inter alia, use in connection with retail

 store services featuring flooring materials, wallcoverings, and related home-improvement

 accessories. The foregoing Registration Nos. 3,110,827; 3,102,586; and 3,848,810 have become

 incontestable pursuant to Section 15 of the Lanham Act, 15 U.S.C. § 1065.



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         In addition to the aforementioned federal trademark registrations, Plaintiff is the owner of

 Texas state trademark Registration No. 800,392,373 for the mark FLOOR DECOR for use with

 “sales, installation and service of carpet, ceramic tile, wood floor, laminates, vinyl, stone, marble

 and granite.”

         Plaintiff owns and operates a chain of eighty-four (84) retail flooring and home decorating

 products stores nationwide under its FLOOR & DECOR Marks, including five (5) stores in the

 metropolitan Dallas area. As a result of Plaintiff’s long and continuous use and promotion of the

 FLOOR & DECOR Marks in connection with retail store services and on-line store services, the

 FLOOR & DECOR Marks have become distinctive of Plaintiff’s services and serve to identify

 Plaintiffs services and to distinguish them from the services of others across the United States,

 including in the metropolitan Dallas area.

         Plaintiff’s FLOOR & DECOR Marks are valid, strong marks entitled to a broad scope of

 protection. Any unauthorized use of Plaintiff’s Marks by Defendant is likely to cause confusion,

 mistake, and deception of consumers and the trade as to the source, sponsorship, approval and

 affiliation of the parties' goods and services, and would inflict irreparable injury on Plaintiff if not

 permanently enjoined.

         Accordingly, the Consent Final Judgment and Permanent Injunction is hereby entered as

 set forth below:

         A. Defendant-Hadi Taffal, and his officers, directors, shareholders, employees, agents,

 representatives, subsidiaries, affiliates, successors, and assigns, and all persons in concert or

 participation with him in connection with his business, shall cease by February 9, 2018, and are

 permanently enjoined from:




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           (1) Using in commerce in connection with any business any service mark, trademark,

 corporate or business name, trade name, or domain name, or other designation that:

               (a) contains both the words “floor” and “decor,” or any variations or symbols of those

     words, such as “flooring,” “décor,” or “decoration,” by way of illustration but not limitation;

     or,

               (b) begins with the word “floor,” or any variation of that word, and that is immediately

     followed by either the word “and” or an ampersand (“&”); or,

               (c) contains an ampersand character (“&”) that is in type larger than the largest type

     size used in connection with the word portion of the mark; or,

               (d) contains or uses any of Plaintiff’s FLOOR & DECOR Marks, or colorable

     imitations thereof, which are likely to cause confusion, deception, or mistake, or to dilute the

     distinctive quality of the Plaintiff’s name or marks or otherwise to trade upon or injure the

     reputation or the goodwill of Plaintiff.

           (2) The provisions of the preceding section, Section A(1)(a)-(d), inclusive, shall apply to

 any manner of use in commerce by Defendant, including by way of illustration but not limitation,

 all exterior and interior store signage, advertising, promotional materials, labeling, key word

 advertising, metatags, top level domain names or secondary domain name addresses, Internet

 websites, or trademark, trade name, or assumed name applications and registrations.

           (3) Notwithstanding Section A(1)-(2), Defendant may refer to his business’s former name

 in one-on-one communications with pre-existing vendors, customers, contractors, or other

 business associates for the purpose of informing them of the change in name and transitioning to

 the new name for a period of one (1) year following entry of the Consent Final Judgment and

 Permanent Injunction.



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            B. Subject to Section A(1)(a)-(d), Plaintiff acknowledges that Defendant’s use of the exact

     term “Granite Floor and Remodeling” or “Granite Floor & Remodeling” as a corporate name, trade

     name, trademark, service mark, or other designation of origin is not an infringement of any of

     rights in its Marks; nor is it a violation of the Consent Final Judgment and Permanent Injunction.

            C. By February 16, 2018, Defendant shall call, and within ten (10) days thereafter follow

     such call with an appropriate written notice to the business office(s) of the telephone companies

     with which Defendant’s business has telephone service under the name “Granite Floor & Decor,”

     requesting such telephone companies: (i) change the listing for all phones listed in the name of

     “Granite Floor & Decor” to Defendant’s new business name; and (ii) request that each yellow or

     white pages directory service which has a current telephone listing of “Granite Floor & Decor,”

     change the listing for “Granite Floor & Decor” to Defendant’s new business name.

            D. The jurisdiction of this Court is retained for the purpose of making or entering any

     further orders necessary or proper for the construction or modification of this Consent Final

     Judgment and Permanent Injunction, and/or the enforcement hereof.

.           E. Each party shall bear its own costs and fees incurred in connection with this matter.

            F. Once entered, the Consent Final Judgment and Permanent Injunction is a final judgment

     and each party thereby waives all rights to appeal from such final judgment.

            IT IS SO ORDERED.
             SIGNED this 19th day of March, 2018.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE



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